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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

    IN RE: NATIONAL PRESCRIPTION                         )   MDL 2804
    OPIATE LITIGATION                                    )
                                                         )   Case No. 1:17-md-2804
    THIS DOCUMENT RELATES TO:                            )
                                                         )   Judge Dan Aaron Polster
    Track Three Cases                                    )
                                                         )   TRACK THREE
                                                         )   CASE MANAGEMENT ORDER

         On April 30, 2020, the Court entered an order identifying the Track Three cases and

directing the parties to meet and confer and submit to Special Master Cohen proposed case

management deadlines. Doc. #: 3282. The parties submitted a proposal reflecting agreement on

many deadlines and identifying competing proposals on disputed deadlines. The Court has

reviewed the parties’ submission and hereby orders the following:

         A.      CT1 Discovery: All discovery propounded or produced in Track 1 (“CT1”) 1 shall
                 be deemed propounded and/or produced in Track 3. Additional discovery served in
                 Track 3 will be tailored to Track 3 as appropriate. New discovery propounded in
                 Track 3 will not be duplicative of discovery previously propounded.

         B.      Motions to Dismiss 2

                     1.       Defendants shall file any motions to dismiss the Amended Complaints
                              within fourteen (14) days after the Court rules on both Plaintiffs’
                              Motion for Leave to File Amended Complaints [Doc. #: 3294] and
                              Plaintiffs’ Motion to Bifurcate Bellwether Claims, Join Bellwether
                              Cases, and Stay Claims [Doc. #: 3297].3

                     2.       Plaintiffs shall file any responses within sixteen (16) days of
                              Defendants’ filing of any motions to dismiss.


1
  “Track 1” or “CT1” refers the cases designated by the Court in CMO-1, Doc. #: 232.
2
  When preparing pleadings, dispositive motions, pretrial motions, and other submissions, the parties should be
mindful that the Court intends to adhere to all rulings made in Track 1.
3
  The Court ruled on Plaintiffs’ motions for leave to file amended complaints and for bifurcation/joinder on June 2,
2020. Doc. ##: 3314, 3315. Therefore, Defendants shall file motions to dismiss by June 16, 2020.
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           3.      Defendants shall file their replies in support of their motions to dismiss
                   within ten (10) days of Plaintiffs’ filing of any responses.

           4.      The parties shall coordinate and consolidate all briefing on motions to
                   dismiss and avoid duplicative briefing by incorporating similar
                   arguments by reference.

           5.      Each Defendant may also file individual motions to dismiss on
                   jurisdictional grounds. The page limits for the memorandum in
                   support, responses, and replies on these defendant-specific jurisdictional
                   issues shall be subject to the limitations set forth in Local Rule 7.1(f).
                   The parties shall meet and confer as soon as possible to discuss whether
                   and the extent to which jurisdictional discovery may be necessary, and
                   shall incorporate the reasoning set out in the Court’s Order refer at
                   docket no. 3180.

           6.      Page limits for motions to dismiss on other issues:

                          (i)     Defendants may file a joint memorandum of up to 30
                                  pages in length on common issues in support of their
                                  motions to dismiss the claims against them both in their
                                  capacity as dispensers and in their capacity as self-
                                  distributors. Plaintiffs may file response briefs
                                  collectively totaling up to 30 pages addressing
                                  Defendants’ joint memorandum on common issues.
                                  Defendants may file a joint reply of up to 15 pages in
                                  length in support of their joint memorandum.

                          (ii)    Each Defendant may also file an individual
                                  memorandum of up to 5 pages concerning issues specific
                                  to it. Responses to such memorandum shall be limited to
                                  5 pages, and reply memoranda shall be limited to 3
                                  pages.

           7.      The parties may use the pages above as they see fit, though opposition
                   briefs shall not exceed the number of pages used in opening briefs.

  C.    Answers to Amended Complaints. Defendants shall file their answers to any
        claims that survive Defendants’ motions to dismiss and are not severed from Track
        3 within forty-five (45) days of the date the Court issues its ruling on the motions
        to dismiss.

  D.    Third Party Complaints. Defendants shall file any third-party complaints within
        fourteen (14) days after service of their answers.


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  E.    Fact Discovery

          1.     June 5, 2020 – Defendants shall reproduce or release from sequester
                 transactional dispensing data for stores located within Lake and
                 Trumbull Counties, Ohio, with the fields ordered in the Special Master’s
                 Discovery Ruling Regarding Pharmacy Data Production for Track One-
                 B Cases, dated January 27, 2020 (Doc. #: 3106).

          2.     June 19, 2020 – Plaintiffs shall identify for Defendants (i) the
                 prescriptions they (and their experts) conclude caused them the harm for
                 which they seek relief; (ii) the methodology or methodologies they (and
                 their experts) used to reach such a conclusion; and (iii) the electronic
                 scripts or analytical programs used by Plaintiffs and/or their experts to
                 implement that methodology.

          3.     June 26, 2020 – Plaintiffs shall identify their proposed document
                 custodians, for Plaintiffs including titles and timeframes of employment
                 in their relevant position. Defendants shall identify their proposed Track
                 3 geographic-specific custodians, if any, including titles and timeframes
                 of employment in their relevant position. Defendants’ national
                 custodians identified in Track 1 shall be the national custodians in Track
                 3. The search terms agreed-upon in Track 1 for defendant custodians
                 shall be the search terms applicable to defendant custodians in Track 3.
                 Defendants shall also identify the search terms for plaintiffs’ custodians.

          4.     July 10, 2020 – Defendants shall produce any additional data fields upon
                 which they or their experts intend to rely in defending against Plaintiffs’
                 “Red Flag” prescriptions identified for Lake and Trumbull Counties.

          5.     October 30, 2020 – Document production by all parties will be
                 substantially completed. Document production leading up to this
                 deadline should occur on a rolling basis.

          6.     October 30, 2020 – Parties identify persons and entities with relevant
                 knowledge.

          7.     December 21, 2020 – Close of fact discovery

  F.    Depositions

          1.     Plaintiffs may depose 28 fact witnesses of all Defendants total, with no
                 more than 7 witnesses of an individual defendant family.

          2.     Plaintiffs may use the approximately 85 depositions they have already
                 taken of the Retail Pharmacy Defendants in Track 1, as permitted by the

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                 Federal Rules, in Track 3. The parties shall meet and confer on the
                 number of depositions of Plaintiffs that Defendants may take of
                 Plaintiffs; to the extent agreement cannot be reached, the dispute shall
                 be submitted to Special Master Cohen.

          3.     The number of depositions allowed of Plaintiffs shall be no more than
                 75 combined.

          4.     In addition to the fact witnesses above, plaintiffs may depose one
                 30(b)(6) witness from each defendant family regarding document
                 production, and one 30(b)(6) witness from each defendant family
                 regarding other topics. Defendants may depose one 30(b)(6) witness
                 from each plaintiff regarding document production, and one 30(b)(6)
                 witness from each plaintiff regarding other topics.

          5.     All 30(b)(6) depositions of Defendants will be limited to 4.5 hours per
                 defendant family and may not be repetitive of 30(b)(6) (or the
                 equivalent) depositions of Defendants taken in other MDL or New York
                 opioid litigation. All 30(b)(6) depositions of Plaintiffs will be limited to
                 7 hours each.

          6.     Depositions of party fact witnesses not previously deposed in any opioid
                 litigation shall be limited to 7 hours each.

          7.     All depositions of party fact witnesses who have already been deposed
                 in this MDL shall not be re-taken in Track 3 absent: (1) agreement of the
                 parties, or (2) order of the Special Master or the Court, upon good cause
                 shown. The parties should presume that, if re-deposition of such a
                 witness is necessary, the additional deposition will be limited to 4.5
                 hours, absent good cause shown, and the parties should endeavor to
                 agree to less time. The parties should also endeavor to agree to similarly
                 limit re-deposition of: (a) fact witnesses who were deposed in other, non-
                 MDL opioid litigation (e.g. in state court); and (b) expert witnesses and
                 third-party witnesses who were deposed in this MDL or other, non-MDL
                 opioid litigation. By June 16, 2020, the parties will submit a joint
                 proposal for deposition of witnesses who have been previously deposed
                 (including time limitations), noting any areas of disagreement.

          8.     Deposition questioning of witnesses who have already been deposed
                 may not be repetitive.

          9.     Production of custodial files of a deponent shall be substantially
                 completed 14 days before the deposition, and fully completed 7 days
                 before the deposition. Depositions may begin before the deadline for
                 substantial completion of document production in Section D.5 above.

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           10.    The foregoing limitations do not apply to the depositions of third parties
                  or place a limit on the number of depositions the parties may take of
                  third parties.

           11.    The Deposition Protocol Order (Doc. #: 643) continues to apply except
                  as modified by this Order.

  G.    Expert Discovery Deadlines

           1.     December 21, 2020 – Plaintiffs shall serve expert reports and, for each
                  expert, provide two proposed deposition dates between January 4, 2021
                  and January 13, 2021.

           2.     January 20, 2021 – Defendants shall serve expert reports and, for each
                  expert, provide two proposed deposition dates between January 27, 2021
                  and February 8, 2021.

  H.    Daubert and Dispositive Motions

           1.     February 15, 2021 – Deadline for Daubert and dispositive motions.

           2.     March 8, 2021 – Deadline for responses to Daubert and dispositive
                  motions.

           3.     March 15, 2021 – Deadline for replies in support of Daubert and
                  dispositive motions.

  I.    Motions in limine

           1.     March 15, 2021 – Motions in limine due.

           2.     April 7, 2021 – Responses to motions in limine due.

           3.     April 19, 2021 – Replies to motions in limine due.

  J.    With respect to Daubert, summary judgment, and in limine motions, the
        parties agree to meet and confer on mechanisms to avoid unnecessarily lengthy
        or duplicative briefing while preserving the record based on motions filed in
        separate tracks of the MDL.




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  K.    Pre-Trial Deadlines

           1.    March 1, 2021 – Parties to exchange proposed jury instructions, verdict
                 forms and interrogatories.

           2.    March 8, 2021 – Parties to email jury questionnaire to the Special
                 Master.

           3.    March 15, 2021 – Parties to exchange affirmative deposition
                 designations.

           4.    March 15, 2021 – Parties to email joint preliminary statement to
                 Chambers.

           5.    March 15, 2021 – Parties to file jury instructions, verdict forms, and
                 interrogatories, including objections where agreement is lacking.

           6.    March 15, 2021 – Parties to email exhibit-list form to Chambers.

           7.    March 15, 2021 – Parties to exchange witness lists and exhibit lists.

           8.    March 26, 2021 – Parties to file witness lists and exhibit lists. Plaintiffs
                 as a group and Defendants as a group will each jointly identify no more
                 than 50 fact witnesses whom they are most likely to call at trial.

           9.    April 2, 2021 – Deadline to depose “most likely” witnesses who were
                 not earlier deposed. A party must make a showing of good cause why
                 they did not take the deposition of such a witness during the regular
                 discovery period. Such depositions may also be taken by agreement. A
                 party must show good cause to call at trial a witness who was not among
                 the identified “most likely” trial witnesses.

           10.   April 2, 2021 – Parties to exchange responsive deposition designations,
                 objections to affirmative designations, and non-repetitive and non-
                 responsive designations from depositions previously affirmatively
                 designated during this period.

           11.   April 9, 2021 – Parties to file proposed questions for the Court’s voir
                 dire.

           12.   April 19, 2021 – Trial briefs due.

           13.   April 19, 2021 – Parties to exchange final deposition designations and
                 objections.


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             14.     April 23, 2021 – Parties to file objections to witnesses and exhibits.

             15.     April 23, 2021 – Parties to file objections to deposition designations.

             16.     April 23, 2021 – Completed jury questionnaires to be distributed to trial
                     counsel.

             17.     April 27, 2021 – Court and trial counsel to review jury questionnaires.

             18.     May 4, 2021 – Final pretrial conference.

       L.    Trial

             1.      May 5, 2021 – Jury selection begins.

             2.      May 10, 2021 – Opening statements.



IT IS SO ORDERED.



                                            /s/ Dan Aaron Polster_June 5, 2020_
                                            DAN AARON POLSTER
                                            UNITED STATES DISTRICT JUDGE




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